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1                                                           Honorable Judge Benjamin H. Settle
                                                            Honorable Judge David W. Christel
2

3

4

5

6

7                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
8                                    AT SEATTLE
9    JESUS CHAVEZ FLORES,
                                                         No. 3:18-cv-05139-BHS-DWC
10                                 Plaintiff,
                                                         STIPULATED PROTECTIVE
11          v.                                           ORDER
12   UNITED STATES IMMIGRATION AND
     CUSTOMS ENFORCEMENT, et al,
13
                                   Defendants.
14

15   1.     PURPOSES AND LIMITATIONS
16          Discovery in this action is likely to involve production of confidential, proprietary,
17
     or private information for which special protection may be warranted. Accordingly, the
18
     parties hereby stipulate to and petition the court to enter the following Stipulated
19
     Protective Order. The parties acknowledge that this agreement is consistent with LCR
20

21   26(c). It does not confer blanket protection on all disclosures or responses to discovery,

22   the protection it affords from public disclosure and use extends only to the limited

23   information or items that are entitled to confidential treatment under the applicable legal
24   principles, and it does not presumptively entitle parties to file confidential information
25
     under seal.
26

                                                                                      LAW OFFICES OF

     STIPULATED PROTECTIVE ORDER – Page 1                                MCNAUL EBEL NAWROT & HELGREN PLLC
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1    2.      “CONFIDENTIAL” MATERIAL
2
             “Confidential” material shall include the following documents and tangible things
3
     produced or otherwise exchanged:
4
             1.      Video and photographs depicting detainees.
5
             2.      Personally Identifiable Information, and Sensitive Personally Identifiable
6

7    Information, to include birth dates, social security numbers, driver’s license or state ID #,

8    passport numbers, alien registration numbers, alien files (A-Files), financial account
9    numbers, biometric identifiers, email addresses, home addresses, phone numbers, or other
10
     information that could cause substantial harm, embarrassment, inconvenience, or
11
     unfairness to an individual if disclosed. In addition, Sensitive PII includes citizenship or
12
     immigration status, medical information, ethnic, religious, sexual orientation, or lifestyle
13

14   information, and account passwords, when paired with another identifier of an individual

15   (directly or indirectly inferred).

16           3.      Documents, information, or material protected by the deliberative process
17   privilege and/or the law enforcement privilege, or designated as “Law Enforcement
18
     Sensitive” including investigative reports.
19
             4.      Medical records.
20
             5.      Employment records.
21

22   3.      SCOPE

23           The protections conferred by this agreement cover not only confidential material

24   (as defined above), but also (1) any information copied or extracted from confidential
25   material; (2) all copies, excerpts, summaries, or compilations of confidential material; and
26

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1    (3) any testimony, conversations, or presentations by parties or their counsel that might
2
     reveal confidential material.
3
             However, the protections conferred by this agreement do not cover information
4
     that is in the public domain or becomes part of the public domain through trial or
5
     otherwise.      Either the GEO Defendants or the ICE Defendants will file a motion to seal
6

7    the video and photographs depicting detainees that were previously filed and substitute

8    into the record images that either redact or blur individual faces more specifically than as
9    previously filed.
10
     4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
11
             4.1      Basic Principles. A receiving party may use confidential material that is
12
     disclosed or produced by another party or by a non-party in connection with this case only
13

14   for prosecuting, defending, or attempting to settle this litigation. Confidential material

15   may be disclosed only to the categories of persons and under the conditions described in

16   this agreement. Confidential material must be stored and maintained by a receiving party
17   at a location and in a secure manner that ensures that access is limited to the persons
18
     authorized under this agreement.
19
             4.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
20
     ordered by the court or permitted in writing by the designating party, a receiving party
21

22   may disclose any confidential material only to:

23                 (a) the receiving party’s counsel of record in this action, as well as employees

24   of counsel to whom it is reasonably necessary to disclose the information for this
25   litigation;
26

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1                 (b) the officers, directors, and employees (including in house counsel) of the
2
     receiving party to whom disclosure is reasonably necessary for this litigation, unless the
3
     parties agree that a particular document or material produced is for Attorney’s Eyes Only
4
     and is so designated;
5

6                 (c) experts and consultants to whom disclosure is reasonably necessary for this
7    litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
8    (Exhibit A);
                 (d) the court, court personnel, and court reporters and their staff;
9

10                (e) copy or imaging services retained by counsel to assist in the duplication of

11   confidential material, provided that counsel for the party retaining the copy or imaging
12   service instructs the service not to disclose any confidential material to third parties and to
13
     immediately return all originals and copies of any confidential material;
14
                  (f) during their depositions, witnesses in the action to whom disclosure is
15
     reasonably necessary and who have signed the “Acknowledgment and Agreement to Be
16

17   Bound” (Exhibit A), unless otherwise agreed by the designating party or ordered by the

18   court. Pages of transcribed deposition testimony or exhibits to depositions that reveal

19   confidential material must be separately bound by the court reporter and may not be
20   disclosed to anyone except as permitted under this agreement;
21
                  (g) the author or recipient of a document containing the information or a
22
     custodian or other person who otherwise possessed or knew the information.
23
            4.3      Filing Confidential Material. Before filing confidential material or
24

25   discussing or referencing such material in court filings, the filing party shall confer with

26   the designating party to determine whether the designating party will remove the

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1    confidential designation, whether the document can be redacted, or whether a motion to
2
     seal or stipulation and proposed order is warranted. Local Civil Rule 5(g) sets forth the
3
     procedures that must be followed and the standards that will be applied when a party seeks
4
     permission from the court to file material under seal.
5
              In the interest of conservation of litigation resources and judicial efficiency, the
6

7    parties agree to the following terms for filing of the categories of confidential material

8    below:
9                   (a) Video and photographs depicting individuals: any video or photographs
10
     depicting individuals shall be blurred and/or partially redacted to protect the individual
11
     identities prior to filing with the court, or filed with a stipulated motion to seal that
12
     satisfies Local Civil Rule 5(g).
13

14                  (b) Personally Identifiable Information, and Sensitive Personally Identifiable

15   Information: Any documents that contain personally identifiable information and/or

16   sensitive personally identifiable information, with the exception of medical records, shall
17   be filed openly with the court so long as the personally identifiable information and/or
18
     sensitive personally identifiable information is redacted pursuant to paragraph 2, above. A
19
     non-redacted copy may be filed with the court with a stipulated motion to seal that
20
     satisfies Local Civil Rule 5(g).
21

22   5.       DESIGNATING PROTECTED MATERIAL

23            5.1      Exercise of Restraint and Care in Designating Material for Protection. Each

24   party or non-party that designates information or items for protection under this agreement
25   must take care to limit any such designation to specific material that qualifies under the
26
     appropriate standards. The designating party must designate for protection only those
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1    parts of material, documents, items, or oral or written communications that qualify, so that
2
     other portions of the material, documents, items, or communications for which protection
3
     is not warranted are not swept unjustifiably within the ambit of this agreement.
4
            Mass, indiscriminate, or routinized designations are prohibited. Designations that
5
     are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
6

7    to unnecessarily encumber or delay the case development process or to impose

8    unnecessary expenses and burdens on other parties) expose the designating party to
9    sanctions.
10
            If it comes to a designating party’s attention that information or items that it
11
     designated for protection do not qualify for protection, the designating party must
12
     promptly notify all other parties that it is withdrawing the mistaken designation.
13

14          5.2      Manner and Timing of Designations. Except as otherwise provided in this

15   agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated

16   or ordered, disclosure or discovery material that qualifies for protection under this
17   agreement must be clearly so designated before or when the material is disclosed or
18
     produced.
19
                  (a) Information in documentary form: (e.g., paper or electronic documents and
20
     deposition exhibits, but excluding transcripts of depositions or other pretrial or trial
21

22   proceedings), the designating party must affix the word “CONFIDENTIAL” to each page

23   that contains confidential material. If only a portion or portions of the material on a page

24   qualifies for protection, the producing party also must clearly identify the protected
25   portion(s) (e.g., by making appropriate markings in the margins).
26

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1                  (b) Testimony given in deposition or in other pretrial proceedings: the parties
2
     and any participating non-parties must identify on the record, during the deposition or
3
     other pretrial proceeding, all protected testimony, without prejudice to their right to so
4
     designate other testimony after reviewing the transcript. Any party or non-party may,
5
     within fifteen days after receiving the transcript of the deposition or other pretrial
6

7    proceeding, designate portions of the transcript, or exhibits thereto, as confidential. If a

8    party or non-party desires to protect confidential information at trial, the issue should be
9    addressed during the pre-trial conference.
10
                   (c) Other tangible items: the producing party must affix in a prominent place
11
     on the exterior of the container or containers in which the information or item is stored the
12
     word “CONFIDENTIAL.” If only a portion or portions of the information or item warrant
13

14   protection, the producing party, to the extent practicable, shall identify the protected

15   portion(s).

16          5.3       Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
17   to designate qualified information or items does not, standing alone, waive the designating
18
     party’s right to secure protection under this agreement for such material. Upon timely
19
     correction of a designation, the receiving party must make reasonable efforts to ensure
20
     that the material is treated in accordance with the provisions of this agreement.
21

22   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

23          6.1       Timing of Challenges. Any party or non-party may challenge a designation

24   of confidentiality at any time. Unless a prompt challenge to a designating party’s
25   confidentiality designation is necessary to avoid foreseeable, substantial unfairness,
26
     unnecessary economic burdens, or a significant disruption or delay of the litigation, a
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1    party does not waive its right to challenge a confidentiality designation by electing not to
2
     mount a challenge promptly after the original designation is disclosed.
3
            6.2     Meet and Confer. The parties must make every attempt to resolve any
4
     dispute regarding confidential designations without court involvement. Any motion
5
     regarding confidential designations or for a protective order must include a certification,
6

7    in the motion or in a declaration or affidavit, that the movant has engaged in a good faith

8    meet and confer conference with other affected parties in an effort to resolve the dispute
9    without court action. The certification must list the date, manner, and participants to the
10
     conference. A good faith effort to confer requires a face-to-face meeting or a telephone
11
     conference.
12
            6.3     Judicial Intervention. If the parties cannot resolve a challenge without court
13

14   intervention, the designating party may file and serve a motion to retain confidentiality

15   under Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable).

16   The burden of persuasion in any such motion shall be on the designating party. Frivolous
17   challenges, and those made for an improper purpose (e.g., to harass or impose unnecessary
18
     expenses and burdens on other parties) may expose the challenging party to sanctions. All
19
     parties shall continue to maintain the material in question as confidential until the court
20
     rules on the challenge.
21

22   7.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
            OTHER LITIGATION
23          If a party is served with a subpoena or a court order issued in other litigation that

24   compels disclosure of any information or items designated in this action as
25   “CONFIDENTIAL,” that party must:
26

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1               (a) promptly notify the designating party in writing and include a copy of the
2
     subpoena or court order;
3
                (b) promptly notify in writing the party who caused the subpoena or order to
4
     issue in the other litigation that some or all of the material covered by the subpoena or
5
     order is subject to this agreement. Such notification shall include a copy of this agreement;
6

7    and

8               (c) cooperate with respect to all reasonable procedures sought to be pursued by
9    the designating party whose confidential material may be affected.
10
     8.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
11
            If a receiving party learns that, by inadvertence or otherwise, it has disclosed
12
     confidential material to any person or in any circumstance not authorized under this
13

14   agreement, the receiving party must immediately (a) notify in writing the designating

15   party of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized

16   copies of the protected material, (c) inform the person or persons to whom unauthorized
17   disclosures were made of all the terms of this agreement, and (d) request that such person
18
     or persons execute the “Acknowledgment and Agreement to Be Bound” that is attached
19
     hereto as Exhibit A.
20
     9.     INADVERTENT PRODUCTION                  OF    PRIVILEGED        OR       OTHERWISE
21          PROTECTED MATERIAL
22
            When a producing party gives notice to receiving parties that certain inadvertently
23
     produced material is subject to a claim of privilege or other protection, the obligations of
24
     the receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
25

26   This provision is not intended to modify whatever procedure may be established in an e-

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1    discovery order or agreement that provides for production without prior privilege review.
2
     The parties     agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set
3
     forth herein.
4
     10.     NON TERMINATION AND RETURN OF DOCUMENTS
5
            Within 60 days after the termination of this action, including all appeals, each
6

7    receiving party must return all confidential material to the producing party, including all

8    copies, extracts and summaries thereof. Alternatively, the parties may agree upon
9    appropriate methods of destruction.
10
            Notwithstanding this provision, counsel are entitled to retain one archival copy of
11
     all documents filed with the court, trial, deposition, and hearing transcripts,
12
     correspondence, deposition and trial exhibits, expert reports, attorney work product, and
13

14   consultant and expert work product, even if such materials contain confidential material.

15          The confidentiality obligations imposed by this agreement shall remain in effect

16   until a designating party agrees otherwise in writing or a court orders otherwise.
17   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
18          STIPULATED this 26th day of September, 2018.
19                                         McNAUL EBEL NAWROT & HELGREN PLLC
20
                                           By: s/ Theresa M. DeMonte
21                                                Daniel M. Weiskopf, WSBA #44941
                                                  Theresa M. DeMonte, WSBA#43994
22
                                           600 University St., Suite 2700
23                                         Seattle, WA 98101
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25
                                           Attorneys for Plaintiff Jesus Chavez Flores
26

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                                UNITED STATES ATTORNEY
2

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7
                                Attorneys for ICE Defendants
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14                              Attorneys for GEO Defendants
15

16

17

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1           PURSUANT TO STIPULATION, IT IS SO ORDERED
2
            IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production
3
     of any documents in this proceeding shall not, for the purposes of this proceeding or any
4
     other proceeding in any other court, constitute a waiver by the producing party of any
5
     privilege applicable to those documents, including the attorney-client privilege, attorney
6

7    work-product protection, or any other privilege or protection recognized by law.

8
     DATED:
9

10
                                                   The Honorable Benjamin H. Settle
11                                                 United States District Court Judge

12   Jointly Presented by:

13   McNAUL EBEL NAWROT & HELGREN PLLC

14
     By: s/ Theresa M. DeMonte
15          Daniel M. Weiskopf, WSBA #44941
            Theresa M. DeMonte, WSBA#43994
16
     Attorneys for Plaintiff Jesus Chavez Flores
17
     ANNETTE L. HAYES
18   UNITED STATES ATTORNEY

19
     By: s/ Sarah K. Morehead
20          Sarah K. Morehead, WSBA #29680
            Assistant United States Attorney
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22   Attorneys for ICE Defendants

23   III BRANCHES LAW, PLLC

24
     By: s/ Joan K. Mell
25          Joan K. Mell, WSBA #21319

26   Attorneys for GEO Defendants

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1                                                  EXHIBIT A
2
                            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
3
                    I, ____________________________________ [print or type full name], of
4

5         ____________________________________ [print or type full address], declare under

6         penalty of perjury that I have read in its entirety and understand the Stipulated Protective

7         Order that was issued by the United States District Court for the Western District of
8
          Washington on [date] in the case of ________________ Chavez-Flores v. ICE et al.,
9
          ECF Case No. 3:18-cv-05139-BHS-DWC. I agree to comply with and to be bound by all
10
          the terms of this Stipulated Protective Order and I understand and acknowledge that
11
          failure to so comply could expose me to sanctions and punishment in the nature of
12

13        contempt. I solemnly promise that I will not disclose in any manner any information or

14        item that is subject to this Stipulated Protective Order to any person or entity except in
15        strict compliance with the provisions of this Order.
16
                    I further agree to submit to the jurisdiction of the United States District Court for
17
          the Western District of Washington for the purpose of enforcing the terms of this
18
          Stipulated Protective Order, even if such enforcement proceedings occur after termination
19
          of this action.
20

21        Date:
22        City and State where sworn and signed:
23

24        Printed name:
25        Signature:
26

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